       Case 1:23-cv-00142-BLW Document 140 Filed 05/16/23 Page 1 of 11




Colleen R. Smith (ISB No. 10023)              Peter G. Neiman*
Stris & Maher LLP                             Alan E. Schoenfeld*
American Civil Liberties Union of             Michelle Nicole Diamond*
   Idaho Foundation Cooperating Attorney      Rachel E. Craft*
1717 K Street NW, Suite 900                   Wilmer Cutler Pickering
Washington, DC 20006                            Hale and Dorr LLP
T: 202-800-5749                               7 World Trade Center
csmith@stris.com                              New York, NY 10007
                                              T: 212-230-8800
Katherine V. Mackey*                          F: 212-230-8888
Wilmer Cutler Pickering                       peter.neiman@wilmerhale.com
  Hale and Dorr LLP                           alan.schoenfeld@wilmerhale.com
60 State Street                               michelle.diamond@wilmerhale.com
Boston, MA 02109                              rachel.craft@wilmerhale.com
T: 617-526-6993
F: 617-526-5000                               Attorneys for Plaintiffs
katherine.mackey@wilmerhale.com
                                              Additional counsel for Plaintiffs
                                              identified on following page

                              UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF IDAHO
                                   SOUTHERN DIVISION

 PLANNED PARENTHOOD GREAT
 NORTHWEST, HAWAII, ALASKA, INDIANA,
 KENTUCKY, on behalf of itself, its staff, physicians
 and patients, CAITLIN GUSTAFSON, M.D., on
 behalf of herself and her patients, and DARIN L.
 WEYHRICH, M.D., on behalf of himself and his
 patients,
                Plaintiffs,                                  Case No. 1:23-cv-142
         v.
                                                             MOTION FOR LEAVE TO
 RAÚL LABRADOR, in his official capacity as                  FILE NOTICE OF
 Attorney General of the State of Idaho; MEMBERS             SUPPLEMENTAL
 OF THE IDAHO STATE BOARD OF MEDICINE                        AUTHORITY
 and IDAHO STATE BOARD OF NURSING, in their
 official capacities, COUNTY PROSECUTING
 ATTORNEYS, in their official capacities,

               Defendants.
       Case 1:23-cv-00142-BLW Document 140 Filed 05/16/23 Page 2 of 11




Jennifer R. Sandman*                         Dina Flores-Brewer (ISB No. 6141)
Catherine Peyton Humphreville*               American Civil Liberties Union of
Planned Parenthood Federation of America        Idaho Foundation
123 William Street                           P.O. Box 1897
New York, NY 10038                           Boise, ID 83701
212-965-7000                                 T: 208-344-9750
jennifer.sandman@ppfa.org                    DFloresBrewer@acluidaho.org
catherine.humphreville@ppfa.org
                                             Andrew Beck*
Michael J. Bartlett (ISB No. 5496)           Meagan Burrows*
Bartlett & French LLP                        Ryan Mendías*
1002 W Franklin St.                          Scarlet Kim*
Boise, Idaho 83702                           American Civil Liberties Union
T: 208-629-2311                              Foundation
F: 208-629-2460 (fax)                        125 Broad Street, 18th Floor
Michael@BartlettFrench.com                   New York, NY 10004
                                             T: 212-549-2633
Attorneys for Plaintiff Planned Parenthood   F: 212-549-2649
Great Northwest, Hawaii, Alaska, Indiana,    abeck@aclu.org
Kentucky                                     mburrows@aclu.org
                                             rmendias@aclu.org
                                             scarletk@aclu.org


                                             Attorneys for Physician Plaintiffs

                                             *Admitted pro hac vice
        Case 1:23-cv-00142-BLW Document 140 Filed 05/16/23 Page 3 of 11




       COME NOW, Plaintiffs Planned Parenthood Great Northwest, Hawaii, Alaska, Indiana,

Kentucky, Caitlin Gustafson, M.D., and Darin L. Weyhrich, M.D., by and through their attorneys

of record, and hereby submit this Motion for Leave to File a Notice of Supplemental Authority, in

light of the Supreme Court’s recent decision in National Pork Producers Council v. Ross, No. 21-

468 (U.S. May 11, 2023). See Miesen v. Hawley Troxell Ennis & Hawley LLP, No. 1:10-CV-

00404-DCN, 2022 WL 1422942, at *11 (D. Idaho May 5, 2022) (“‘The purpose of a Notice of

Supplemental Authority is to inform the Court of a newly decided case that is relevant to the

dispute before it[.]’” (quoting B St. Grill & Bar LLC v. Cincinnati Ins. Co., 525 F. Supp. 3d 1008,

1013 (D. Ariz. 2021))). Plaintiffs draw the Court’s attention to the Supreme Court’s decision in

National Pork because it concerns the Supreme Court’s dormant Commerce Clause jurisprudence,

and Plaintiffs have brought a claim against AG Labrador’s interpretation of the Total Abortion

Ban under the dormant Commerce Clause in this case. (Compl. Count II). The National Pork

decision has no bearing on the pending Motion to Dismiss, which does not address the merits of

Plaintiffs’ claims. The decision is only relevant as to Plaintiffs’ pending Motion for Preliminary

Injunction, and only to the extent the Court considers Plaintiffs’ likelihood of succeeding on their

dormant Commerce Clause claim.

       RESPECTFULLY SUBMITTED this 16th day of May, 2023.



                                                              /s/ Colleen R. Smith
                                                              Colleen R. Smith (ISB No. 10023)
        Case 1:23-cv-00142-BLW Document 140 Filed 05/16/23 Page 4 of 11




Jennifer R. Sandman*                         Colleen R. Smith (ISB No. 10023)
Catherine Peyton Humphreville*               Stris & Maher LLP
Planned Parenthood Federation of America     American Civil Liberties Union of
123 William Street                              Idaho Foundation Cooperating Attorney
New York, NY 10038                           1717 K Street NW, Suite 900
T: 212-965-7000                              Washington, DC 2006
jennifer.sandman@ppfa.org                    T: 202-800-5749
catherine.humphreville@ppfa.org              csmith@stris.com

Michael J. Bartlett (ISB No. 5496)           Katherine V. Mackey*
Bartlett & French LLP                        Wilmer Cutler Pickering
1002 W Franklin St.                            Hale and Dorr LLP
Boise, Idaho 83702                           60 State Street
T: 208-629-2311                              Boston, MA 02109
F: 208-629-2460 (fax)                        T: 617-526-6993
Michael@BartlettFrench.com                   F: 617-526-5000
                                             katherine.mackey@wilmerhale.com
Attorneys for Plaintiff Planned Parenthood
Great Northwest, Hawaii, Alaska, Indiana,    Peter G. Neiman*
Kentucky                                     Alan E. Schoenfeld*
                                             Michelle Nicole Diamond*
Andrew Beck*                                 Rachel E. Craft*
Meagan Burrows*                              Wilmer Cutler Pickering
Ryan Mendías*                                  Hale and Dorr LLP
Scarlet Kim*                                 7 World Trade Center
American Civil Liberties                     New York, NY 10007
   Union Foundation                          T: 212-230-8800
125 Broad Street, 18th Floor                 F: 212-230-8888
New York, NY 10004                           peter.neiman@wilmerhale.com
T: 212-549-2633                              alan.schoenfeld@wilmerhale.com
F: 212-549-2649                              michelle.diamond@wilmerhale.com
abeck@aclu.org                               rachel.craft@wilmerhale.com
mburrows@aclu.org
rmendias@aclu.org                            Attorneys for Plaintiffs
scarletk@aclu.org                            * Admitted pro hac vice

Dina Flores-Brewer (ISB No. 6141)
American Civil Liberties Union of
   Idaho Foundation
P.O. Box 1897
Boise, ID 83701
T: 208-344-9750
DFloresBrewer@acluidaho.org

Attorneys for Physician Plaintiffs
        Case 1:23-cv-00142-BLW Document 140 Filed 05/16/23 Page 5 of 11




                                CERTIFICATE OF SERVICE

       I hereby certify that on May 16, 2023, I filed the foregoing electronically through the

CM/ECF system, which caused the following parties or counsel to be served by electronic

means, as more fully reflected on the Notice of Electronic Filing:

       Raul R. Labrador
       Office of the Attorney General State of Idaho
       700 W. Jefferson Street
       P.O. Box 83720
       Boise, ID 83720-0010

       Members of the Idaho State Board of Medicine
       Idaho State Board of Medicine
       11341 W. Chinden Blvd.
       Boise, ID 83714

       Members of the Idaho State Board of Nursing
       Idaho State Board of Nursing
       11341 W. Chinden Blvd.
       Boise, ID 83714

       Jan M. Bennetts
       Ada County Prosecuting Attorney
       Adan County Prosecutor’s Office
       200 West Front Street, Room 3191
       Boise, ID 83702

       Christopher D. Boyd.
       Adams County Prosecuting Attorney
       201 Industrial Ave. Council, ID 83612
       P.O. Box 604
       Council, ID 83612

       Alex Gross
       Boise County Appointed Prosecuting Attorney
       406 Montgomery Street
       P.O. Box 186
       Idaho City, Idaho 83631

       Andrakay J. Pluid
       Boundary County Prosecuting Attorney
       6452 Kootenai Street, Room 12
       P.O. Box 1148
Case 1:23-cv-00142-BLW Document 140 Filed 05/16/23 Page 6 of 11




Bonners Ferry, ID 83805

Steve Stephens
Butte County Prosecuting Attorney
P.O. Box 736
Arco, ID 83327

Jim Thomas
Camas County Prosecuting Attorney
501 Soldier Road
P.O. Box 160
Fairfield, ID 83327

McCord Larsen
Cassia County Prosecuting Attorney
1459 Overland Ave. 3rd Floor
P.O. Box 7
Burley, ID 83318

E. Clayne Tyler
Clearwater County Prosecuting Attorney
106 Michigan Ave.
Orofino, ID 83544

Trevor Misseldine
Gooding County Prosecuting Attorney
624 Main Street
Gooding, ID 83330

Mark Taylor
Jefferson County Prosecuting Attorney
Jefferson County Courthouse
210 Courthouse Way
Suite 220
Rigby, ID 83442

Rob Wood
Madison County Prosecuting Attorney
Madison County Clerk’s Office
134 E Main Street
Rexburg, ID 83440

Lance Stevenson
Minidoka County Prosecuting Attorney
P.O. Box 368
Rupert, ID 83350
Case 1:23-cv-00142-BLW Document 140 Filed 05/16/23 Page 7 of 11




Cody L. Brower
Oneida County Prosecuting Attorney
10 W. Court Street
Malad, ID 83252

Ben Allen
Shoshone County Prosecuting Attorney
Shoshone County Courthouse
700 Bank Street, Suite 200
Wallace, ID 83873

Grant P. Loebs
Twin Falls County Prosecuting Attorney
425 Shoshone Street North
Third Floor
P. O. Box 126
Twin Falls, ID 83303-0126

Brian Naugle
Valley County Prosecuting Attorney
Valley County Courthouse
219 N. Main Street
Cascade, ID 83611

Stephen F. Herzog
Bannock County Prosecuting Attorney
624 E Center Street, Room 204
Pocatello, ID 83201

Adam McKenzie
Bear Lake County Prosecuting Attorney
Bear Lake County Courthouse
30 N Main Street
P.O. Box 190
Paris, ID 83261

Mariah R. Dunham
Benewah County Prosecuting Attorney
701 W College Ave., Suite 201
St. Maries, Idaho 83861

Paul Rogers
Bingham County Prosecuting Attorney
501 N Maple Street
Blackfoot, Idaho
Case 1:23-cv-00142-BLW Document 140 Filed 05/16/23 Page 8 of 11




Matt Fredback
Blaine County Prosecuting Attorney
219 South 1st Ave.
Suite 201
Hailey, ID 83333

Louis Marshall
Bonner County Prosecuting Attorney
1500 Highway 2
Sandpoint, ID 83864

Randy Neal
Bonneville County Prosecuting Attorney
605 N Capital Ave.
Idaho Falls, Idaho 83402

Shondi Lott
Elmore County Prosecuting Attorney
Elmore County Courthouse Annex
190 South 4th East Street
Mountain Home Idaho 83647

Lindsey Blake
Fremont County Prosecuting Attorney
22 W. 1st North, Street
St. Anthony, ID 83445

Kirk A MacGregor
Idaho County Prosecutor
416 West Main Street
PO Box 463
Grangeville, Idaho 83530

Brad Calbo
Jerome County Prosecuting Attorney
Jerome County Judicial Annex
233 W Main Street
Jerome, ID 83338

Stanley Mortensen
Kootenai County Prosecuting Attorney
501 Government Way
Coeur d’Alene, ID 83814

Bill Thompson
        Case 1:23-cv-00142-BLW Document 140 Filed 05/16/23 Page 9 of 11




       Latah County Prosecuting Attorney
       Latah County Courthouse
       522 S Adams Street
       Moscow, ID 83843

       Zachary Pall
       Lewis County Prosecutor
       Lewis County Courthouse
       510 Oak Street #2
       Nezperce, ID 83543

       Christopher Topmiller
       Owyhee County Prosecuting Attorney
       P.O. Box 128
       Murphy, ID 83650

       Mike Duke
       Payette County Prosecuting Attorney
       1115 1st. Ave. N.
       Payette, ID 83661

       Delton L. Walker
       Washington County Prosecuting Attorney
       Walker Law Office
       232 E Main Street
       Weiser, ID 83672

       Janna Birch
       Clark County Prosecuting Attorney
       P.O. Box 2869
       Idaho Falls, ID

       Richard Roats
       Lincoln County Prosecuting Attorney
       111 West B Street
       P.O. Box 860
       Shoshone, ID 83352

       And I FURTHER CERTIFY that on such date I served the foregoing on the following non-

CM/ECF registered participants via U.S. first class mail, postage prepaid addressed as follows:

       Bryan Taylor
       Canyon County Prosecuting Attorney
       1115 Albany Street
       Caldwell, ID 83605
Case 1:23-cv-00142-BLW Document 140 Filed 05/16/23 Page 10 of 11




S. Doug Wood
Caribou County Prosecuting Attorney
159 South Main Street
Soda Springs, ID 83276

Justin Oleson
Custer County Prosecuting Attorney
521 E. Main Ave.
PO Box 630
Challis, ID 83226-0630

Vic A. Pearson
Franklin County Prosecuting Attorney
Franklin County Prosecuting Attorney's Office
39 West Oneida
Preston, ID 83263

Erick Thomson
Gem County Prosecuting Attorney
306 E. Main Street
Emmett, ID 83617

Paul Withers
Lemhi County Prosecutor
1301 Main Street, Suite 6
Salmon, ID 83467

Justin Coleman
Nez Perce County Prosecuting Attorney
1113 F Street
Lewiston, ID 83501

Jason E. “Mack” Mackrill
Power County Prosecuting Attorney
Power County Courthouse
543 Bannock Ave.
American Falls, ID 83211

Bailey A. Smith
Teton County Prosecuting Attorney
Law Enforcement Center
230 N Main Street, Suite 125
Driggs, ID 83422
Case 1:23-cv-00142-BLW Document 140 Filed 05/16/23 Page 11 of 11




                                                       /s/ Colleen R. Smith
                                          Colleen R. Smith (ISB No. 10023)
